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                             UNITED STATES DISTRICT COURT
                                   DISTRICT OF COLUMBIA




     UNITED STATES OF AMERICA

     Plaintiff,

     v.                                                   Criminal Action No. 17-232-EGS

     MICHAEL T. FLYNN,

     Defendant.




     MR. FLYNN’S SUR-SURREPLY IN SUPPORT OF HIS MOTION TO COMPEL
    PRODUCTION OF BRADY MATERIAL AND FOR AN ORDER TO SHOW CAUSE
          The government sought and received permission to file a Surreply by complaining that the

defendant had bootlegged “new” arguments into his Reply. Yet its Surreply either elides the

supposedly new material altogether or does not address it in terms. The government’s Surreply is

new only in its stunning admissions and untenable paradoxes. According to the government, it

had no obligation to produce its superfluity of Brady evidence before Mr. Flynn pleaded guilty—

because he was not a defendant until he was formally charged. And, it had no obligation to produce

its cache after he pleaded guilty (the same or next day)—well . . . because his guilty plea erased

its obligation.1


1
    The government could hardly claim to have been surprised by the defendant’s position on the
scope of its Brady obligation. As Mr. Flynn’s lead counsel said in open court: “I think the point
is going to be that there is egregious government misconduct and long-time suppression of crucial
Brady material that should have been provided to the defense before there ever was a plea. But
Mr. Van Grack told counsel that he didn't have an ethical or legal obligation to produce anything
pre-plea, and then post-plea he's maintained that he has no obligation to produce it because he pled
guilty. So I'm trying to figure out how the government conceives of its Brady obligation in this
case, because it seems to be that it doesn't have one.” Hr’g Tr. Sept. 10, 2019, 15:10-20.
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       If accepted, the government’s approach would allow endless manipulation by prosecutors:

target individuals, run search warrants, seize devices, interrogate for days, threaten family

members, cajole, but never charge until the clock strikes midnight once a plea is extracted. Yet

playing cat-and-mouse with the Due Process Clause is the opposite of what the Brady-Bagley-

Giglio line of cases is all about. Perhaps even more significantly, the government’s position

wholly ignores this Court’s Standing Order, which not only has no such timing requirements, but

is issued for the precise purpose of eliminating the games the government played here.

       One point is new. Mr. Van Grack finally admits he recognized a serious conflict of interest

between Mr. Flynn and the counsel who prepared his FARA filing. Yet, he fails to respond to the

point made in Mr. Flynn’s Reply that this conflict existed only because the government insisted

not only on incessantly attacking Flynn’s FARA registration (beginning within weeks of its filing),

but also on demanding its pairing with the completely unrelated White House interview

prosecution. Simultaneously, the government did not even advert to the primary argument that

the conflict was non-consentable, which meant that even if former counsel had fully disclosed and

explained the risks associated with the conflict, Flynn could not agree to waive it. The Covington

& Burling lawyers could not remain in the case. Most important of all, the government did not

move to disqualify the lawyers or bring the matter to the attention of any court.

       Far from addressing whatever it claims was “new” in Mr. Flynn’s Reply, the government

largely regurgitates its prior denials of any Brady obligation before the first plea. But Mr. Flynn’s

Motion, Brief, and Reply also highlighted material the government suppressed long after this

Court’s Brady order, through what was scheduled to be a sentencing hearing, and continuing to

this day—despite persistent, detailed requests by new counsel. Thumbing its nose at this Court’s

Brady Order, ignoring this Court’s gentle reminder of its primacy, and failing even to produce the



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requested evidence in camera, the government has stonewalled against producing so much as a

single document the government itself identified as exculpatory but provided only heavily-

redacted or in meager “summary.”2 It is all this conduct that demonstrates contempt for this

Court’s Order.

       The government has known since prior to January 24, 2017, that it intended to target Mr.

Flynn for federal prosecution. That is why the entire “investigation” of him was created at least

as early as summer 2016 and pursued despite the absence of a legitimate basis. That is why Peter

Strzok texted Lisa Page on January 10, 2017: “Sitting with Bill watching CNN. A TON more out. .

. We’re discussing whether, now that this is out, we can use it as a pretext to go interview some

people.”3 The word “pretext” is key. Thinking he was communicating secretly only with his


2
   A simple review of the confidential June 6 letter from new defense counsel to Deputy Attorney
General Rosen before counsel even appeared officially in the case shows that Mr. Flynn gave the
government every opportunity to meet its Brady obligation on its own and without involving this
Court. Indeed, counsel strongly hoped the government would do so. The government itself filed
that letter at Dkt.122-2, but instead of producing Brady and following the mandate of Berger v.
United States, 295 U.S. 78, 88 (1935) “that justice shall be done,” Mr. Van Grack continues to
harp on Mr. Flynn’s plea and little else.
    Nor was there “an extraordinary reversal” pursuant to which Mr. Flynn claims he is innocent.
At no time did new, conflict-free counsel affirm the validity of Mr. Flynn’s guilty plea. In that
same letter, counsel explained that “as was ingrained in [Mr. Flynn] from childhood,” he “took
responsibility for what the SCO said he did wrong.” Counsel wrote that they “used the ancient
Logan Act as a pretext” for his interview, the “FBI interview was worse than ‘entrapment,’” and
that Mr. Flynn was “truthful” with the agents. From undersigned counsel’s first brief in this Court,
the defense cited Judge Jed Rakoff’s article on “Why the Innocent Plead Guilty.” Dkt. 109 at n.1.
Rather, as a matter of procedure, counsel advised the Court that we anticipated seeking dismissal
rather than withdrawal. Nothing we have found in the law requires a defendant to withdraw his
guilty plea rather than seek dismissal for egregious government misconduct. Analogously, this
Court did not have to grant a new trial to Ted Stevens before it could dismiss the entire prosecution
in the interest of justice.
3
  The government claims, without support, that this “pretext to interview some people” does not
apply to Mr. Flynn. But, Strzok’s admission that he and McCabe then had “many meetings” to
decide whether, when, and how to interview Flynn in the next few weeks, and the small group
meeting on the day before the interview to plan the ambush at the highest levels, belie the
government’s claim. Dkt. 133-6. Presumably, Mr. Van Grack was not part of that planning
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paramour before their illicit relationship and extreme bias were revealed to the world, Strzok let

the cat out of the bag as to what the FBI was up to. Try as he might, Mr. Van Grack cannot stuff

that cat back into that bag.4

       Former Deputy Director Andrew McCabe as much as admitted the FBI’s intent to set up

Mr. Flynn on a criminal false statement charge from the get-go. On Dec. 19, 2017, McCabe told

the House Intelligence Committee in sworn testimony: “[T]he conundrum that we faced on their

return from the interview is that although [the agents] didn’t detect deception in the statements

that he made in the interview . . . the statements were inconsistent with our understanding of the

conversation that he had actually had with the ambassador.” McCabe proceeded to admit to the

Committee that “the two people who interviewed [Flynn] didn’t think he was lying, [which] was

not [a] great beginning of a false statement case.” Ex. 1.

       Had the FBI not intended all along to create a false statement case, there would have been

no “conundrum” at all. The matter simply would have concluded with the interview. Further,

there would have been no comment about “a false statement case”—because no such case would

be assumed. Finally, there would be no lamenting the “poor start” of a false statement case,5

because there would not have been “a start.” False statement cases normally arise incidentally

when government agents are investigating a matter and the interviewee makes a misstatement

about that matter. Agents then seek to get to the truth by giving 1001 warnings to coax truthful


process, so his unsupported assertions about what Strzok and Page had in mind when they texted
about pretext is pure speculation. Brady entitles a defendant to exculpatory evidence, not
unsupported, self-serving denials.
4
   Mr. Flynn requests the notes, 302s, statements, recordings of any and all the participants in the
meetings of the small group to plan and then debrief his interview. The government did not attempt
to rebut these issues because it cannot.
5
  House Permanent Select Committee on Intelligence, Report on Russian Active Measures, 54
(March 22, 2017), Ex. 1.
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information from the suspect. But here, to use Strzok’s own words, the investigation was “a

pretext;” the object of the interview was to secure, rather than prevent, a 1001 violation. The “poor

start” further reveals Mr. McCabe’s determination to create a case despite the agents’ belief Mr.

Flynn was telling the truth. Having such concrete evidence as to the prosecution’s thinking

processes is rare; having it in text messages and sworn congressional testimony is priceless.

       1. The Original 302 Or Evidence of its Attempted Destruction Are Being
          Suppressed.

       The government attempts to gloss over the existence of at least one earlier draft of the

Flynn 302, then asks this Court to leap blindly to the conclusion that if it did exist, it contained the

same information as the government has already deigned to produce. Aside from this inherent

contradiction, as explained in Mr. Flynn’s Reply, the FBI Sentinel system can retrieve any draft.

Drafts are numerically serialized when placed in the system. Those numbers—apparently redacted

from the 302 drafts that have been produced—would probably provide further information.

       It is no excuse that the original Flynn 302 is not “in the possession of” Mr. Van Grack at

this moment. Rather, his obligation is to reach out to his colleagues and obtain it. Kyles v. Whitley,

514 U.S. 419, 437 (1995) (“Prosecutors ha[ve] a duty to learn of any favorable evidence known to

[] others acting on the government’s behalf.”). It is in the FBI’s system, or can be retrieved, along

with the audit trail, the A1 files, information about any attempt made to destroy it, and all the

metadata for the changes which are more important now than ever in light of the absurdity of the

government’s Surreply. Tellingly, Mr. Van Grack does not deny that such information is, in fact,

available.

       The Strzok-Page text messages confirm that Lisa Page had two opportunities to edit drafts

of the crucial 302. Strzok returned to his FBI office the night of February 10, 2017, to input the

edits she made on the draft she had earlier left in Bill [Priestap’s] office (about which they hatch a

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cover-story), then sent her another version over the weekend. The government thus implicitly

admits there was at least one version prior to the February 10 edition.

       To add to its brazen disregard for its obligation to preserve and locate exculpatory evidence,

the government claims entitlement to a favorable assumption about the suspiciously lost document

when it argues that “there is no reason to believe it would materially differ” from other drafts. Dkt.

132 at 7. To the contrary, spoliation law requires the assumption that the evidence is favorable to

the defense. See United States v. Cooper, 983 F.2d 928 (9th Cir. 1993) (the district court properly

dismissed the indictment due to the government's destruction of evidence, relying on the test

articulated by the Supreme Court in California v. Trombetta, 467 U.S. 479, 489 (1984) and Arizona

v. Youngblood, 488 U.S. 51, 58 (1988)).

       2. The Handwritten Notes Raise Questions that Mandate Production of the
          Originals and More.

       The government contends—without any support—that Mr. Flynn’s assertion that Agent

Strzok’s notes were not taken contemporaneously with the interview is “divorced from the facts.”

Surreply at 4. But according to Mr. Strzok himself, in a 302 created from an interview he gave to

Senior Assistant Special Counsel Andrew Goldstein and FBI Supervisory Special Agent Eric

Ruona, on July 19, 2017—for which he was warned—Strzok said he asked the questions and that

Agent 2 was “primarily responsible for taking notes and writing the FD-302.”

       Moreover, even a layman can look at the two sets of notes and discern that Strzok’s

miniscule, printed, within-the-lines, longer, and more detailed notes bear none of the hallmarks of

being written during the press of an interview—much less by the secondary note-taker. That

observation is even more obvious when compared with Agent 2’s notes, which do appear to be

contemporaneous. Of course, the defense cannot prove this without handwriting samples and the

original notes, but there is sufficient basis for this Court to compel the government’s production

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of that original evidence (including the 1A files, the audit trail, and the metadata) and handwriting

samples for analysis in light of the government’s dogged insistence that Strzok wrote the notes

contemporaneously. The FBI already breached its own protocols in this case and is apparently

willing to send a man to prison based on notes that do not seem to be as represented.6

       In addition, the notes bear no signature and date as required by the FBI, casting doubt on

their authenticity. If the signatures and dates are present in the originals, the government has

unjustifiably redacted that information, possibly without leaving a black mark to disclose a

redaction, which itself is a form of deception.

       3.   The Notes Do Not Support the Factual Basis for the Plea.

       Most importantly, the notes, which the government claims are the most “original”

interview documents and “detail the defendant’s multiple false statements,” do nothing of the sort.

Surreply at 4. Two allegations depend on Ambassador Kislyak’s response to purported questions

about the UN vote and sanctions. Read the notes of both agents for hours, and you won’t find a

question or an answer about Kislyak’s response on either the UN vote or the sanctions—yet those

assertions underpin the factual basis for the plea. Dkt. 133. By failing to join issue on these points,

the government has effectively conceded that the notes do not support the purported false

statements in the factual basis for the plea.




6
   Ironically, neither the Court nor defense counsel even knows what differences exist between
what Mr. Flynn told the agents and the actual recordings of the calls to Ambassador Kislyak,
Surreply at 5-6, as neither defense counsel nor the Court has ever heard the calls. One would
imagine there are differences between the recordings of the calls and what Mr. Flynn recalled to
the agents who stopped by his office that day, but that is not evidence that he lied, and he did not.
As the agents themselves realized when they spoke to him, he may have been wrong, but he was
honest to the best of his recollection at the time. Unlike Lisa Page, Mr. Flynn was not shown the
transcript of the call (or a text message) and given an opportunity to say “oh yes, that’s right.” Dkt.
133-12. The upper echelon of the FBI decided in their strategy meeting they would deny him that
opportunity, contrary to standard FBI practice when a violation of 18 U.S.C. § 1001 is suspected.
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       Similarly, the notes do not state that Mr. Flynn “made the specific false statements” to

which he pled guilty. The notes do not say that he made any false statement at all. The agents

reported back believing he either was honest or believed he was telling the truth. There is nothing

in the 302s—draft or final—that says he made false statements. And, the notes do not even match

each other—especially on the statements regarding the UN vote and sanctions.

       As Mr. Comey testified to the House Permanent Select Committee on Intelligence, on

March 2, 2017, “the agents . . . discerned no physical indications of deception. They didn’t see any

change in posture, in tone, in inflection, in eye contact. They saw nothing that indicated to them

that he knew he was lying to them.” Ex. 1. As many people have used the same language to

describe the agents’ reactions, it strains credulity to suggest the original 302 or some other 302

does not exist from the interview of Mr. Flynn that includes these statements or similar ones.7 This

Court should order the government to conduct a thorough search of its records, including the FBI’s

Sentinel database, and produce unredacted versions of every 302 in this case, including redaction

history, audit trail, and metadata. Given the already well documented history of “pretext,”

manipulation, violation of standing rules and practices (“screw it”) and other malfeasance by the

FBI in this case, there can be no justification for withholding this information from the defense

and the Court.

       4. There Were Material Changes Made in the 302 Overnight on February 10, 2017.
       Contrary to the government’s bald assertion that no material changes were made to the

Flynn 302, Surreply at 5-6, the drafts of the 302s, the agents notes, and the Strzok-Page texts show



7
   Even in its claim of disclosure, the government elides that it shared a minimized version of this
information only by last minute phone call with conflicted counsel the day after Mr. Flynn agreed
to plead guilty and as they were signing the deal—while it also insisted that the unrelated FARA
admissions be included in the plea.


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material changes were made, and this is why, among other reasons, Mr. Flynn requested these

documents in his original Motion to Compel. MTC 2, 6, 40. We know that on February 10, 2017,

McCabe and possibly Strzok went to the White House to visit Vice President Pence. Then news

broke asserting that Mr. Flynn had lied to the Vice President and others about his calls with

Ambassador Kislyak.8

         That same night, Lisa Page texted Peter Strzok: “[Y]ou need to finalize that asap. I

wouldn’t be surprised if following this evening’s events that a request comes in to see it.” Strzok

replied: “I’m going back in tonight to do so.” Page then told Strzok that she “gave my edits to Bill

to put on your desk.”

         We do know that the same evening, Strzok went into the office, picked up Page’s edits,

and made changes that any reasonable person would deem material to the 302. He added a

definitive statement: “FLYNN stated he did not.” This was in response to whether, on the issue of

UN vote, Flynn had asked Kislyak to vote in a particular way. This is materially different from

the notes which state Flynn did not recall speaking to Kislyak on the UN vote issue. Another

material change was to add the entire phrase: “or if KISLYAK described any Russian response to

a request by FLYNN” to which Flynn answered “no.” The notes reflect neither a question nor an

answer about a “Russian response” to anything at all. This is what the Surreply characterizes as




8
    See Timeline for January-February 2017, Ex. 2.
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“largely grammatical and stylistic” edits.9 Surreply at 6. Defendant is entitled to compare Lisa

Page’s suggested edits with the changes made by Strzok to determine whether his changes

reflected his purported recollection of the event or fabrications suggested by McCabe’s special

counsel.

         Previously, someone added an entire assertion untethered from either set of notes: “The

interviewing agents asked FLYNN if he recalled any conversation with KISLYAK in which

KISLYAK told him the Government of Russia had taken into account the incoming

administration’s position about the expulsions, or where KISLYAK said the Government of Russia

had responded, chosen to modulate their response, in any way to the U.S.’s actions as a result of a

request by the incoming administration.” Although absent from the notes of both agents, this

“Russian response” underpins the alleged crime.10 The government does not even attempt to rebut

this issue, because it cannot.




10
     See Flynn Reply Dkt. 133-2 at 11.
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       5. Mr. Flynn’s Statements Were Not Material.

       The government has been on notice since December 18, 2018, that this Court had serious

questions about the materiality of Mr. Flynn’s statements from the factual basis for the plea. After

expressing concern earlier in the hearing about the facts that surrounded Mr. Flynn’s statements to

the FBI agents on Jan. 24, this Court reiterated its concern at the end of the hearing: “[I]t probably

won't surprise you that I had many, many, many more questions . . . such as, you know, how the

government's investigation was impeded? What was the material impact of the criminality? Things

like that.”   Hr’g Tr. 50:12-13, 20-22, Dec. 18, 2018.         Defendant is entitled to access the

government’s documents that show there was none.

       Trying to shoehorn the FBI’s interview of Flynn into its investigation of whether the Trump

campaign was “coordinating with the Russian government in its activities to interfere with the

2016 presidential election,” the government claims that Mr. Flynn’s “conduct and communications

with Russia went to the heart of that inquiry. Actions such as the defendant’s communications

with the Russian Ambassador about U.S. sanctions could have been indicative of such

coordination.” Surreply at 10.

       There are serious problems with this mantra. First and foremost, the agents already knew

exactly what Mr. Flynn said in all his communications with the Russian Ambassador, so the FBI

agents did not ask questions to discover the existence or substance of those communications. And,

second, the agents did not ask Mr. Flynn a single question about anything even approaching

“interference with the 2016 election.” Nor did the agents try to connect the post-election

communications to pre-election interference. The interview, by “pretext,” was purely to “start” a

“false statement case” as McCabe admitted in his congressional testimony.




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        The government’s claim that “it was imperative that the FBI determine whether and why

such communications with the Russian Ambassador had occurred,” id. at 11, is belied by the

unalterable truth that the FBI had recordings and transcripts of those very conversations. It knew

exactly whether, what, and why “such communications” “occurred” between Mr. Flynn and the

Ambassador. It heard the calls.11 Nothing the agents asked Mr. Flynn on January 24 was material

to any valid investigation, and because the agents and Mr. Flynn knew they had the transcripts,

recordings, and knew exactly what was said, nothing impeded their purported investigation.

        In this Circuit, Brady evidence is to be produced promptly to the defense—in time for it to

use it. The government here used every conceivable strategy and tactic to circumvent Brady’s

letter and spirit, and its own responsibility as a servant of the law, from the inception of this entire

operation. The government attempts to paint its pre-plea interactions with Mr. Flynn as cordial

and completely voluntary, but that defies reality.

        Mr. Flynn was one of the Special Counsel’s first four targets—following on from Mr.

Comey and Mr. McCabe’s pretextual target selection of mid-2016. After having been compelled

by the facts to clear Mr. Flynn in January, Mr. McCabe opened the obstruction case on President

Trump and the FBI re-entered the 302 of Mr. Flynn’s interview into the Sentinel system on May

31, 2017, for Mr. Mueller’s special use.       Mr. Flynn was named in Mr. Mueller’s first target

authorization letter. The Mueller team soon obtained a search warrant and took possession of all



11
   Likewise, whatever the Vice-President and others in the White House said publicly or privately
that Mr. Flynn told them was not grist for an FBI investigation. The Executive Branch has different
reasons for saying different things publicly and privately, and not everyone is told the details of
every conversation. If the FBI is charged with investigating discrepancies in statements made by
government officials to the public, the entirety of its resources would be consumed in a week.
Furthermore, Mr. Van Grack’s team interviewed all the relevant White House officials. The
defense has reason to believe there is exculpatory evidence from those interviews, requested at
MTC 17, 28, IV(g), that has been withheld as well.


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Mr. Flynn’s electronic devices—phones and computers—which they hold to this day. Then, they

obtained authority to target his son, and they seized all his devices. Moreover, the prosecutors

mislead by omission when they claim Mr. Flynn was “afforded protections by the government

against his statements during those [proffer] meetings being used against him.” Dkt. 132, 2.12

       As the Brady Court made clear, a prosecutor should not be the “architect of a proceeding

that does not comport with standards of justice.” Brady v. Maryland, 373 U.S. 83, 88 (1963). This

Circuit has excoriated the government for failing to produce exculpatory evidence as soon as they

finished the conversation that revealed it. United States v. Pasha, 797 F.3d 1122, 1133 (D.C. Cir.

2015). In United States v. Nelson, the district court discussed the government’s pre-plea Brady



12
  The letter sent by the Special Counsel to Mr. Flynn’s then-counsel, Covington & Burling, before
the proffer interviews made clear that, “by receiving [Mr. Flynn’s] proffer, the government does
not agree to make any motion on [his] behalf or to enter into a cooperation agreement, plea
agreement, immunity agreement or non- prosecution agreement with Client.” Although the letter
made a general promise not to use statements made in the interviews against Mr. Flynn, the
promise included an important final clause: “Should Client be prosecuted, no statements made by
Client during the meeting will be used against Client in the government's case-in-chief at trial or
for purposes of sentencing, except as provided below.” (emphasis added). The listed exceptions
render the “promise” a practical nullity.

    It is disingenuous to suggest that the proffer sessions were not adversarial when the government
had permission to target Mr. Flynn, seized all his electronic devices, targeted his son, and seized
his son’s devices. The government fails to mention that, to obtain the plea, it threatened Mr. Flynn
with indictment the next day, the indictment of his son who had a new baby, promised him "the
Manafort treatment,” and promised to pile on charges sufficient to put him in prison the rest of his
life. The short fuse was no doubt motivated by the government’s knowledge, which it did not
disclose to Flynn, that the salacious Strzok-Page emails, disclosing their vitriolic hatred of
President Trump and his team, the key agents’ affair, and their termination from Mueller’s Special
Counsel operation were going to be exposed the very next day. No individual, no matter how
innocent, can withstand such pressure, particularly when represented by conflicted defense
counsel. The advice a client is given by his lawyer in such fraught circumstances can make all the
difference between standing his ground or caving to the immense pressure. Mr. Flynn caved, not
because he is guilty, but because of the government’s failure to put its cards on the table, as Brady,
requires, and its failure to ensure that Mr. Flynn was represented by un-conflicted counsel when
he was forced to make that decision.



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obligations and held the government has the obligation to disclose Brady before a plea.         United

States v. Nelson, 979 F. Supp. 2d 123, 129 (D.D.C. 2013). The Nelson court noted that “a

defendant who is forced to make a choice about going to trial or pleading guilty unaware that the

government has not disclosed evidence which if made available, would tend to exculpate him,

suffers unfair treatment unworthy of the bedrock ideal inscribed on the Justice Department walls,”

and that “precluding a defendant from raising such a Brady claim after a guilty plea could create a

risk too costly to the integrity of the system of justice to countenance—tempting a prosecutor to

stray from that bedrock ideal and deliberately withhold exculpatory information as part of an

attempt to elicit guilty pleas.” Id. at 130 (internal quotes omitted).

        This district and most circuits agree that if this question were put to the Supreme Court, it

“would find that the government has an obligation to disclose exculpatory evidence at the plea

stage.” Id. at 129. As Judge Betty Fletcher wrote in a companion case to United States v. Stevens,

it is “an affront to the integrity of our system of justice” that the prosecutors had withheld “material

documents—including FBI reports, memoranda, and police reports” and knowingly suppressed

“information that undermine[d] the prosecution’s star witness. United States v. Kohring, 637 F.3d

895, 914 (9th Cir. 2011) (B. Fletcher, J. concurring).

        6. Covington’s Non-Consentable Conflict of Interest Was Not Ameliorated by Mr.
           Van Grack’s Discussion with Conflicted Counsel.
        When the government’s Response relied pervasively on Mr. Flynn’s representation by and

(theoretical) ability to consult with chosen counsel at all stages of the proceedings, the conflict of

interest necessarily became an element of his Reply, and the government is wrong to complain that

Mr. Flynn strayed outside the bounds of a proper Reply. Dkt. 131; Surreply at 11. Since it was

the government that first raised the supposed impartial advice Mr. Flynn received from his lawyers




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at the time of his plea and then, again, when he confirmed his plea before this Court, this became

a proper subject for addressing in Mr. Flynn’s Reply.

       Even given leave to file a Surreply, however, the government completely ignores the

gravamen of Mr. Flynn’s argument. While Mr. Van Grack admits he was aware of the serious

conflict of interest inherent in Covington & Burling’s representation of Mr. Flynn in this case

because of its responsibility for the FARA registration, Surreply at 11, he concedes he did nothing

meaningful about it. In fact, his reaction was wholly inadequate: he accepted at face value the

conflicted lawyers’ report that Mr. Flynn was aware of the problem, that they had discussed it, and

that Mr. Flynn had agreed to waive the conflict. Id. In such circumstances, the government must

do more—much more.

       The government’s response is not only inadequate as a matter of legal ethics, which it also

failed to address, but it ignores the crux of Mr. Flynn’s argument in his Reply. The conflict was

non-consentable. Instead of seeking Flynn’s consent to their continued representation of him,

Covington lawyers were obligated to withdraw from the representation, regardless of his wishes.

Dkt. 133-2, Reply at 16-18. Continued representation under these circumstances, in turn, amounts

to constitutionally inadequate representation under the Sixth Amendment. It must be remembered

that in Wheat v. United States, 486 U.S. 153 (1988), the district court overrode the formally

expressed wishes of both the defendant and his lawyers; the defendant’s chosen counsel was

removed from the case on the government’s contested motion.

       Mr. Van Grack could have avoided this part of the government’s present difficulty by

moving to disqualify Flynn’s original counsel years ago, thus putting the ultimate decision into a

court’s hands, as in Wheat and other cases. But, he chose to speak only to the very counsel that

had either not adverted at all to consentability, or had already reached the self-serving


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determination both that the conflict was consentable and that the client’s purported consent was

adequately informed.

       Mr. Van Grack unilaterally eliminated the possibility that the Court would learn enough to

investigate further. He was content to allow hopelessly-conflicted counsel not merely to walk Mr.

Flynn into five days of interviews with the Special Counsel team, but into an immediate, high-

pressured plea of guilty without any demands for or production of Brady material, facilitated the

waiver of countless rights, and signed an agreement for endless years of cooperation with the

government at extraordinary personal expense. In addition to those benefits, the government was

able to turn Mr. Flynn’s own counsel into the equivalent of adverse witnesses against him in the

Rafiekian FARA case in the Eastern District of Virginia.

       All the while, the government was suppressing the evidence we outlined comprehensively

in Mr. Flynn’s Reply and this Sur-Surreply. Some conflicts of interest are not waivable as a matter

of constitutional law, but a court cannot realistically press the inquiry further unless alerted to it

by the parties. By the time of the sentencing hearing before this Court in December 2018, it was

simply impossible for the Court to unearth the seriousness of conflict of interest.

       The normal plea colloquy was insufficient to alert this Court to the problem, and Mr. Flynn

did not know what Mr. Flynn did not know. When Mr. Flynn was asked if he was satisfied with

the representation he was receiving, he had no way of knowing of the depths of the conflict of

interest, and he had no way of knowing that some conflicts of interest are non-consentable. The

prosecutors were more than just aware of this issue, they took full advantage of it. Their failure to

address the issue in their Surreply concedes the non-consentable conflict. This is precisely why

the government is required to focus the court’s attention to the issue by moving to disqualify




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counsel and thus letting the Court—not the government in cahoots with uber-conflicted counsel—

persuade a defendant that he is getting advice from a safe source.

                                          CONCLUSION

       In conclusion, yes, the government engaged in conduct so shocking to the conscience and

so inimical to our system of justice that it requires the dismissal of the charges for outrageous

government conduct. See United States v. Russell, 411 U.S. 423, 428 (1973). However, as fully

briefed in our Motion to Compel and Reply, at this time, Mr. Flynn only requests an order

compelling the government to produce the additional Brady evidence he has requested—in full

and unredacted form—and an order to show cause why the government should not be held in

contempt. At the appropriate time, Mr. Flynn will file a separate motion asking that the Court

dismiss the prosecution for egregious government misconduct and in the interest of justice. Mr.

Flynn is entitled to discovery of the materials he has requested in these motions and briefs that will

help him support such a motion.

                                                                Respectfully submitted,



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                               CERTIFICATE OF SERVICE

       I hereby certify that on November 4, 2019, a true and genuine copy of Mr. Flynn’s Sur-

Surreply in Support of His Motion to Compel Production of Brady Material and for an Order to

Show Cause was filed using the Court’s CM/ECF system, which will serve a copy of the filing

upon all counsel and record.


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       (U) The Trump campaign did not re-                     the indictment that any American was a
 ceive a general co unterintelligence briefing                knowing participant in the alleged unlawful
 until August 2016, and even then, it was                     activity. There is no allegation in   the indict-
 never specifically notified about Papado-                    ment that the charged conduct altered t he
 poulos, Page, Ma nafort, or General Flynn's                  outcome of t h~ 2016 election.'' 107
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 Russia ties.   o.;   Further, the counterintelli-
 gence briefing provided to Trump and his
 top advisors did not identify any individuals
 by name, but rather focused on the general
 threat posed by adversaries, including Rus-
 sia and China.

 (U) Finding #24: The February 2018 indict-
 ment ·o f the Internet Resee1rch Agency and
 Russian nationals exposes Russian actors
 and their intent to spread distrust towards
 the candidates and the political system in
 general.

       (U) In mid-February 2018, the Depart-
 ment of Justice charged 12 Russians and the
 Russia-based Internet Research Agency LLC
 with interference operations targeting the
 United States political and electoral process·
 es.   The lndictment claims that th~ stated
 goal of the Russian actors was to " spread
 distrust towards the candidates and the po-
 litical system in general" and provides in-
 sight into the metl10ds used by the IRA,
 such as the use of stolen identities, travel to
 the U.S. for the purpose of collecting intelli-
 gence, and the procurement of computer
 infrastructure to hide t he Russian origin of
             05
 activities. ~ The indictment by Special
 Counsel Mueller contains assertions that are
· consistent with information examined by
 the Committee during its investigation. Spe-
 cifically, according to an accompanying DOJ
 announcement, "There ls no allegation in



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                Expanded Timeline of January-February 2017
Jan 5, 2017      Obama, Biden, Rice, Yates, Clapper, Brennan and Comey meet in Oval Office
                 regarding Steele dossier.
                 Link is Grassley’s letter and includes Rice letter outlining what occurred at the Jan.
                 meeting
                 https://www.judiciary.senate.gov/imo/media/doc/2018-02-
                 08%20CEG%20LG%20to%20Rice%20(Russia%20Investigation%20Email).pdf?platfo
                 rm=hootsuite

Jan. 5, 2017     Former CIA director James Woolsey and Trump break ties ahead of major
                 intelligence briefing
                 https://www.rawstory.com/2017/01/former-cia-director-james-woolsey-and-
                 trump-break-ties-ahead-of-major-intelligence-briefing/

Jan. 6, 2017     Comey briefs President-Elect on salacious aspects of the dossier
                 https://thefederalist.com/2018/04/20/comeys-memos-indicate-dossier-briefing-of-
                 trump-was-a-setup/
                  Excerpt: “I said the Russians allegedly had tapes involving him and prostitutes at
                 the Presidential Suite at the Ritz Carlton in Moscow from about 2013,” Comey
                 wrote of his conversation with Trump in a classified memo that was released in
                 redacted form late Thursday. “I said I wasn’t saying this was true, only that I
                 wanted him to know both that it had been reported and that the reports were in
                 many hands.”
                 No media organizations had reported the allegations at the time Comey briefed
                 Trump.
                 “I said media like CNN had them and were looking for a news hook,” Comey added
                 in his memo about the briefing
Jan. 7, 2017     Released: Intelligence Community Assessment. The ICA reports Russia helping
                 Trump
                 https://www.dni.gov/files/documents/ICA_2017_01.pdf (dated Jan. 6, 2017)
                 NSA Director Mike Rogers would not sign up to the “high confidence” claims

Jan. 10, 2017    Passing the Baton Ceremony—Susan Rice to Mike Flynn

Jan. 10, 2017    Clapper calls David Ignatius of the Washington Post with instructions to the effect
                 of “take the kill shot” on Flynn

Jan. 10, 2017    BuzzFeed News publishes Steele Dossier: These Reports Allege Trump Has Deep
                 Ties To Russia
                 https://www.buzzfeednews.com/article/kenbensinger/these-reports-allege-
                 trump-has-deep-ties-to-russia
                 Excerpt: A dossier making explosive — but unverified — allegations that the
                 Russian government has been “cultivating, supporting and assisting” President-
                 elect Donald Trump for years and gained compromising information about him has


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                been circulating among elected officials, intelligence agents, and journalists for
                weeks.
                CNN reported Tuesday that a two-page synopsis of the report was given to
                President Obama and Trump.
                Now BuzzFeed News is publishing the full document so that Americans can make
                up their own minds about allegations about the president-elect that have
                circulated at the highest levels of the US government.

Jan. 10, 2017   Peter Strzok/Lisa Page Communications (re “pretext”) Source Authority (See
                Defendant’s Reply, filed 10-24-19, at Exhibit 129-6 and
                https://www.cnn.com/2018/09/14/politics/page-strzok-texts-part-
                two/index.html)

                Strzok to Page (January 10, 2017) in text government suppressed: “Sitting with Bill
                watching CNN. A TON more out. Hey let me know when you can talk. We’re
                discussing whether, now that this is out, we use it as a pretext to go interview
                some people.”

Jan 11, 2017,   Pence first Press Conference as V.P.-elect (messaging from Bossert)
New York City   https://www.alternet.org/2018/09/heres-incriminating-case-against-mike-pence/

Jan. 11, 2017   Covington sends a letter to the DOJ, need to do FARA registration but unsure
                about the foreign principal.
Jan. 12, 2017   Why did Obama dawdle on Russia’s hacking? David Ignatius
                https://www.washingtonpost.com/opinions/why-did-obama-dawdle-on-russias-
                hacking/2017/01/12/75f878a0-d90c-11e6-9a36-1d296534b31e_story.html

                Except: “…Retired Lt. Gen. Michael T. Flynn, Trump’s choice for national security
                adviser, cultivates close Russian contacts. He has appeared on Russia Today and
                received a speaking fee from the cable network, which was described in last
                week’s unclassified intelligence briefing on Russian hacking as “the Kremlin’s
                principal international propaganda outlet.”

Jan 12, 2017    BIDEN meets with Pence. Biden reports that they talked about RUSSIA and
                UKRAINE.
                https://www.rferl.org/a/us-vice-president-biden-praises-successor-mike-pence-
                knowledge-russia-tips-on-ukraine-iraq/28230559.html



Jan. 12, 2017   Sir Mark Lyall Grant letter disavowing and discrediting Steele hand-delivered to
                NSC team

Jan. 12, 2017   Second FISA Renewal:
                https://www.grassley.senate.gov/sites/default/files/judiciary/upload/2018-02-
                28%20CEG%20LG%20to%20DOJ%20OIG%20%28referral%29.pdf

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Jan. 15, 2017   Pence Says He Is Unaware of Flynn’s Discussions: Face the Nation – Pence Full
                Interview
                https://www.cbsnews.com/video/full-interview-mike-pence-january-15/

Jan. 19, 2017   U.S. counterintelligence officials are examining possible ties between Russia and
                Trump associates
                https://www.washingtonpost.com/world/national-security/us-
                counterintelligence-officials-are-examining-possible-ties-between-russia-and-
                trump-associates/2017/01/19/7e10f31c-debd-11e6-918c-
                99ede3c8cafa_story.html

                Excerpt: U.S. counterintelligence officials are sifting through intercepted
                communications and financial data as part of a wider look at possible ties between
                the Russian government and associates of President-elect Donald Trump, officials
                said.
                But while it has been clear for months that a broad investigation is underway,
                what remains murky — even to lawmakers receiving closed briefings — is its scope
                and target. It is unclear if the intercepts being examined have any connection to
                the Trump campaign.

Jan. 20, 2017   Inauguration Day

Jan. 20, 2017   Rice “By the Book” Email to Self (names Jan. 5 meeting attendees – Obama, Rice,
                Biden, Yates, Comey)
                Link is letter from Grassley, which includes Rice “by the book” email to self:
                https://www.judiciary.senate.gov/imo/media/doc/2018-02-
                08%20CEG%20LG%20to%20Rice%20(Russia%20Investigation%20Email).pdf?platfo
                rm=hootsuite

Jan. 22, 2017   Mike Flynn sworn in as NSA Director
Jan. 22, 2017   U.S. Eyes Michael Flynn’s Links to Russia (NOTE: Appeared in the Jan. 23, 2017,
                print edition as 'U.S. Looks at Flynn’s Russian Links.')
                Counterintelligence agents have investigated communications by President
                Trump’s national security adviser, including phone calls to Russian ambassador in
                late December
                https://www.wsj.com/articles/u-s-eyes-michael-flynns-links-to-russia-1485134942

Jan. 23, 2017   FBI reviewed Flynn’s calls with Russian ambassador but found nothing illicit
                https://www.washingtonpost.com/world/national-security/fbi-reviewed-flynns-
                calls-with-russian-ambassador-but-found-nothing-illicit/2017/01/23/aa83879a-
                e1ae-11e6-a547-5fb9411d332c_story.html

                Excerpt: Although Flynn’s contacts with Russian Ambassador Sergey Kislyak were
                listened to, Flynn himself is not the active target of an investigation, U.S. officials



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                   said. The Wall Street Journal reported Sunday that U.S. counterintelligence agents
                   had investigated the communications between Flynn and Kislyak.
                   McCabe, Strzok, Page, Bowdich, General Counsel Baker and others met to plan
                   interview of Flynn to keep him “relaxed”
Jan. 24, 2017      Comey says “Screw it” to longstanding protocols and tells McCabe to send agents
                   to White House as planned.
                   Strzok & Agent2 interview Mike; Strzok briefed McCabe and redacted. McCabe
                   briefed Comey. Strzok was aware that redacted later argued about the FBI’s
                   decision to interview Flynn.
                       • Agents reported back they believed Flynn was not lying.
Jan. 24, 2017      FBI clears Michael Flynn in probe linking him to Russia
                   https://nypost.com/2017/01/24/fbi-clears-michael-flynn-in-probe-linking-him-to-
                   russia/

Jan. 26, 2017      Yates and McCord knew what the FBI knew when she raced over to the White
                   House to warn Trump’s general counsel that Flynn was “compromised.”

Jan. 27-28, 2017




                   Russians Charged With Treason Worked in Office Linked to Election Hacking
                   https://www.nytimes.com/2017/01/27/world/europe/russia-hacking-us-
                   election.html

Jan, 27, 2017      Yates goes to White House again to talk with McGahn

Jan. 30, 2017      DOJ internal memo exonerates Flynn of being an agent of Russia—still not
                   produced to defense

Feb. 8, 2017       Comey in WH – Preibus asks if “there’s a FISA on Flynn” – Comey Memos Link:
                   https://www.documentcloud.org/documents/4442900-Ex-FBI-Director-James-
                   Comey-s-memos.html




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Feb. 8, 2017



                Person in White House goes up to Flynn’s office, reports to Strzok that he was
                unable to get valuable intel

Feb. 9, 2017    National security adviser Flynn discussed sanctions with Russian ambassador,
                despite denials, officials say
                https://www.washingtonpost.com/world/national-security/national-security-
                adviser-flynn-discussed-sanctions-with-russian-ambassador-despite-denials-
                officials-say/2017/02/09/f85b29d6-ee11-11e6-b4ff-ac2cf509efe5_story.html

                Excerpt: Flynn “indicated that while he had no recollection of discussing sanctions,
                he couldn’t be certain that the topic never came up.”
Feb. 9, 2017    HEATHER HUNT of FARA division further pressures Covington to file Flynn’s FARA
                registration

Feb. 10, 2017   Multiple Clips of Spicer and Pence
Feb. 10, 2017




                Strzok/Page Texts (SEE Defendant’s Reply, Exhibit 129-4)




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Feb. 11, 2017      Mifsud was interviewed by the FBI in the US during a conference. He left the U.S.
                   on Feb. 11 and apparently has not been seen since.
                   https://www.washingtontimes.com/news/2019/oct/20/joseph-mifsud-identity-
                   called-trump-russia-probe-o/

Feb. 11, 2017      When it comes to his contacts with Russia, Michael Flynn has bigger problems
                   than the Logan Act
                   https://www.washingtonpost.com/blogs/post-partisan/wp/2017/02/11/when-it-
                   comes-to-his-contacts-with-russia-michael-flynn-has-bigger-problems-than-the-
                   logan-act/

Feb. 12, 2017      As Flynn falls under growing pressure over Russia contacts, Trump remains silent
                   https://www.washingtonpost.com/politics/as-flynn-falls-under-growing-pressure-
                   over-russia-contacts-trump-remains-silent/2017/02/12/2b58f31e-f15e-11e6-b9c9-
                   e83fce42fb61_story.html

Feb. 12, 2017      Flynn advised the President that he may have forgotten details of his calls with
                   Ambassador Kislyak, but he did not lie.
Feb. 13, 2017      Justice Department warned White House that Flynn could be vulnerable to
                   Russian blackmail, officials say
                   https://www.washingtonpost.com/world/national-security/justice-department-
                   warned-white-house-that-flynn-could-be-vulnerable-to-russian-blackmail-officials-
                   say/2017/02/13/fc5dab88-f228-11e6-8d72-263470bf0401_story.html

                   Flynn resigned

Feb. 13, 2017      David Laufman of NSD/FARA Division personally calls Covington & Burling to
                   pressure filing the FARA registration

Feb. 13-14, 2017   Strzok, Page and McCabe launch Flynn 302




Feb. 14, 2017      The Political Assassination of Michael Flynn
                   https://www.bloomberg.com/opinion/articles/2017-02-14/the-political-
                   assassination-of-michael-flynn



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Feb. 14, 2017   Former Director Comey and President Trump discuss Mike Flynn. Former Director
                Comey uses the purported details of this conversation in a memo to allege
                obstruction of justice against President Trump despite all undisclosed internal
                reports Flynn had been cleared.
                See Comey Memo 4 discussed in detail by DOJ OIG Report Comey (August 2019)
                and see entire report https://oig.justice.gov/reports/2019/o1902.pdf and also
                see Defendants Reply Exhibits 129-3 and 129-10

Feb. 14, 2017




Feb. 15, 2017   McCabe-approved FLYNN 302 entered in Sentinel

Feb. 19, 2017   Stefan Halper pushes the smear against Flynn. CHRISTOPHER ANDREWS, The
                Sunday Times (UK Media) “Impulsive General Misha shoots himself in the foot”
                https://www.thetimes.co.uk/article/impulsive-general-misha-shoots-himself-in-
                the-foot-l7gfpbghr

May 17, 2017    Robert Mueller named Special Counsel




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